Case 1:25-cv-00006-GBW               Document 12   Filed 01/16/25    Page 1 of 2 PageID #: 998




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 11

AKOUSTIS TECHNOLOGIES, INC., et al.,               Bankr. Case No. 24-12796 (LSS)

                              Debtors.             (Jointly Administered)




QORVO, Inc.,
                       Petitioner,
                                                   C.A. No. 1:25-cv-00006 (GBW)
             v.
Akoustis Technologies, Inc., et al.

                       Debtors-Respondents.


                   MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission
pro hac vice of Jeffrey T. Kucera, Esquire of K&L Gates LLP to serve as counsel to Debtors-
Respondents in the above captioned case.

Dated: January 16, 2025                       LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                               /s/ Matthew R. Pierce
                                              Matthew R. Pierce (No. 5946)
                                              919 Market Street, Suite 1800
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 467-4400
                                              Facsimile: (302) 467-4450
                                              Email: pierce@lrclaw.com




{1472.002-W0079383.}
Case 1:25-cv-00006-GBW          Document 12          Filed 01/16/25   Page 2 of 2 PageID #: 999




             CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
 admitted, practicing and in good standing as a member of the Bar of the State of Florida, and
 pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged
 misconduct which occurs in the preparation or course of this action. I also certify that I am
 generally familiar with this Court’s Local Rules. In accordance with Standing Order for District
 Court Fund effective January 1, 2024, I further certify that the annual fee of $50.00 has been
 paid to the Clerk of Court for the District Court.

Dated: January 16, 2025                       /s/ Jeffrey T. Kucera
                                              Jeffrey T. Kucera, Esquire
                                              K&L GATES LLP
                                              Southeast Financial Center, Suite 3900
                                              200 South Biscayne Boulevard
                                              Miami, Florida 33131
                                              Telephone: (305) 539-3300
                                              Email: Jeffrey.Kucera@klgates.com


                                ORDER GRANTING MOTION

      IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.


 Date: January ____, 2025                              _________________________________
                                                       The Honorable Gregory B. Williams
                                                       United States District Judge




 {1472.002-W0079383.}                            2
